EXHIBIT A
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                          Plaintiffs,                        Case No. 1:25-cv-10685 (WGY)

         v.

MARCO RUBIO, ET AL.

                          Defendants.


              PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION
                           DIRECTED TO DEFENDANTS

        PLEASE TAKE NOTICE that, pursuant to Rule 34 of the Federal Rules of Civil Procedure

and Local Civil Rules for the District of Massachusetts 26.1, Plaintiffs American Association of

University Professors, American Association of University Professors-Harvard Faculty Chapter,

American Association of University Professors at New York University, Rutgers American

Association of University Professors-American Federation of Teachers, and Middle East Studies

Association (“Plaintiffs”), by and through their undersigned counsel hereby request that

Defendants Marco Rubio, Kristi Noem, Todd Lyons, and Donald J. Trump (“Defendants”)

produce the following documents and things identified and listed below for inspection.

                           DEFINITIONS AND INSTRUCTIONS

   1. The definitions and instructions provided in Federal Rule of Civil Procedure 34(a) and

Local Rules 26.5 and 34.1 are incorporated by reference.

   2. Whenever reference is made to a person or legal entity, it includes any and all of such

person’s or entity’s past and present affiliates, components, subdivisions, offices, directors,

officers, agents, partners, employees, contractors, consultants, attorneys, representatives,


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investigators, predecessors, successors, assigns and/or any other person or entity acting on, or

purporting to act on, its behalf.

   3.   “Adverse action” means investigating, monitoring, surveilling, revoking the visa of,

terminating the status of, determining the removability of, or seizing, arresting, detaining,

removing, or transferring to detention facilities in Louisiana.

    4. “And” and “or” shall be construed in the conjunctive or disjunctive as necessary to bring

within the scope of the Request all responses that might otherwise be construed as outside its scope.

    5. “Any” shall be construed to include the word “all” and “all” shall be construed to include

the word “any.”

    6. “Communication”, as defined in Local Rule 26.5(c), means the transmittal of information

(in the form of facts, ideas, inquiries, or otherwise).

    7. “Concerning” means, as defined in Local Rule 26.5(c), referring to, describing, evidencing

or constituting.

    8. The terms “document” and “documents” mean any and all items referred to as “documents”

in Federal Rule of Civil Procedure 34 and as “writings” and “recordings” in Federal Rule of

Evidence 1001. By way of example and without limitation, the terms “document” and

“documents” include the original, all drafts, and all non-identical copies, regardless of origin or

location, of the following: notes, correspondence (including by letter, by e-mail, or by SMS text

message, or by iMessage), internal communications, e-mail, ledger books, log books, statements,

memoranda, policies, procedures, directives, instructions, guidance, summaries of records of

conversations, reports, video tapes, audio tapes, minutes or records of meetings, summaries of




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interviews or investigations, maps, and photographs. The term “document” shall include data

stored and organized electronically.

   9. “Each” shall be construed to include the word “every” and “every” shall be construed to

include the word “each.”

   10. “Including” shall be construed to include the phrase “without limitation.”

   11. The terms “you” and “your” refer to each of the defendants individually responding to

these requests.

   12. The term “Targeted Noncitizen Students or Faculty Members” means the following

individuals:

           a. Mahmoud Khalil;

           b. Mohsen Mahdawi;

           c. Rümeysa Öztürk;

           d. Yunseo Chung;

           e. Efe Ercelik;

           f. Mohammed Hoque;

           g. Ranjani Srinivasan;

           h. Badar Khan Suri; and

           i. Momodou Taal.

   13. To the extent a request calls for the production of documents or things you contend are

subject to a privilege or immunity from discovery, your written request should so indicate, but you

are requested to produce the balance of the documents or things not subject to a claim of privilege

which fall within the scope of the request. Additionally, to the extent information subject to a


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privilege or immunity from discovery is contained within responsive documents or things, you are

requested to produce a redacted version of the document or thing containing the non-privileged

information with a notation on the produced document or thing indicating that it is being produced

in redacted form.

   14. If you are unable to produce any file or document sought in these requests, you shall

identify the file or document; state the reasons why you are unable to produce it, describe in detail

the efforts you have made to obtain it, and identify its location and/or custodian.

   15. Documents responsive to these requests should be produced in the order in which they are

ordinarily kept and in a format sufficient to identify the files from which they have been taken.

Documents from different files should not be intermingled.

   16. Except as otherwise specified, these requests cover the time period January 20, 2025 to the

present.

   17. These discovery requests are continuing in that they may require supplemental responses.

If you obtain further information or documents with respect to any request to which you have

already responded, you have a continuing duty to supplement your answer pursuant to Federal

Rule of Civil Procedure 26(e) at any time prior to the entry of judgment.

   18. For each document or thing requested that you object to producing on the basis of any

privilege or immunity from discovery, please provide the following information:

           a. The basis for the privilege being invoked;

           b. The date of the document;

           c. The title of the document (if any);

           d. The name of the person(s) authoring the document;
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           e. The name of the person(s) to whom the document and/or copies thereof were

               given or transmitted;

           f. The name of the person(s) from whom the document and/or copies thereof were

               given or transmitted:

           g. The present location and custodian of the document, or any copies thereof; and

           h. The general subject matter dealt with in the document with reasonable specificity

               to allow Plaintiffs to determine whether to challenge the privilege designation.

                                  DOCUMENT REQUESTS

   1. Documents and communications concerning any adverse action you have taken or

considered taking against any of the Targeted Noncitizen Students or Faculty Members,

including but not limited to:

           a. Any document in which the Department of Homeland Security (“DHS”) and/or

               U.S. Immigration and Customs Enforcement (“ICE”) requested or recommended

               that the U.S. Department of State revoke the visas of or determine the

               removability of a Targeted Noncitizen Student or Faculty Member. See Ozturk v.

               Trump, No. 25-CV-374, 2025 WL 1145250, at *3 (D. Vt. Apr. 18, 2025)

               (describing request from DHS and ICE for revocation of Rümeysa Öztürk’s F-1

               visa);

           b. Any document in which the State Department approved the revocation of a

               Targeted Noncitizen Student’s or Faculty Members’s visa. See id.;

           c. Any document in which Secretary of State Marco Rubio determined that a

               Targeted Noncitizen Student or Faculty Member is removable under 8



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   U.S.C. 1227(a)(4)(C). See Khalil v. Joyce, No. 25-CV-01963, 2025 WL 1232369,

   at *2 (D.N.J. Apr. 29, 2025);

d. Any document in which the State Department informed DHS and/or ICE that it

   had approved the revocation of a Targeted Noncitizen Student or Faculty

   Member’s visa or determined the removability of a Targeted Noncitizen Student

   or Faculty Member;

e. A memorandum from Secretary Rubio accusing Mohsen Mahdawi of engaging in

   “threatening rhetoric and intimidation of pro-Israeli bystanders.” Mahdawi v.

   Trump, No. 25-CV-389, 2025 WL 1243135, at *10 (D. Vt. Apr. 30, 2025);

f. A memorandum from Andre Watson (Senior Official, Homeland Security

   Investigations) to John Armstrong (Senior Bureau Official, Department of State)

   stating that Rümeysa Öztürk had engaged in “anti-Israel activism.” John Hudson,

   No Evidence Linking Tufts Student to Antisemitism or Terrorism, State Dept.

   Office Found, Wash. Po. (Apr. 13, 2025) https://perma.cc/KRB2-AVXF;

g. A March 2025 State Department memorandum finding that neither DHS nor ICE

   nor Homeland Security Investigations had produced any evidence showing that

   Rümeysa Öztürk had engaged in antisemitic activity or made public statements

   indicating support for a terrorist organization. See id.;

h. A document dated March 21, 2025 in which the State Department informed DHS

   that the revocation of Öztürk’s visa had been “approved.” See id.;

i. An April 9, 2025 memorandum from the Deputy Assistant Secretary of State for

   Visa Services to ICE regarding the revocation of Efe Ercelik’s visa. Ercelik v.

   Hyde, No. 25-CV-11007, slip op. at 17 (D. Mass. May 8, 2025);



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           j. A March 22, 2025 communication from DHS/ICE to the State Department

               seeking the Department’s determination as to whether Mohammed Hoque’s visa

               should be revoked. Hoque v. Trump, No. 25-cv-01576, slip op. at 4 (D. Conn.

               May 5, 2025);

           k. A May 23, 2025 memorandum from the State Department informing DHS/ICE

               that Mohammed Hoque’s visa had been revoked. See id.; and

           l. Any Notice to Appear (Form I-862), administrative arrest warrant (Form I-200),

               or Record of Deportable/Inadmissible Alien (Form I-213) that has been issued or

               drafted as to any of the Targeted Noncitizen Students or Faculty Members.

   2. Documents, including memoranda, policies, procedures, and directives concerning the

inspection, review, monitoring, or surveillance of noncitizens’ social media accounts or activity,

including but not limited to:

           a. The Secretary of State’s communication to State Department employees on March

               25, 2025, titled “Enhanced Screening and Social Media Vetting for Visa

               Applicants.” Ken Klippenstein, Trump Admin Spies on Social Media of Student

               Visa Holders, Substack (Mar. 28, 2025), https://perma.cc/FV5L-MUNA;

           b. The State Department’s new guidance to consular officers on reviewing visa

               applicants’ social media, referred to in paragraph 16 of the declaration from John

               Armstrong submitted in support of the government’s opposition to Plaintiffs’

               preliminary injunction motion.

   3. Documents and communications created, referenced, or relied on by you to take any

adverse action against any of the Targeted Noncitizen Students or Faculty Members.




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    4. Documents and communications concerning the “open-source information” collected and

reviewed by the Homeland Security Investigations Office of Intelligence relating to the Targeted

Noncitizen Students or Faculty Members. See Declaration of Andre Watson, ¶ 7 (April 14,

2025), ECF 65-2; Declaration of Unit Chief Roy M. Stanley ¶¶ 5-10, ECF 30-2 (March 22,

2025), Taal v. Trump, 3:25-cv-00335, (N.D.N.Y.).

    5. Documents and communications concerning the identification of Targeted Noncitizen

Students or Faculty Members for potential adverse actions, including identifications made by

you or any third party, such as Betar US and Canary Mission.

    6. Documents and communications concerning the implementation or enforcement of

Executive Orders 14,161 and 14,188, with respect to taking any adverse action against non-

citizens, including but not limited to any reports issued by the Attorney General, the Secretary of

State, the Secretary of Education, and the Secretary of Homeland Security pursuant to Section

3(a) of Executive Order 14,188.

    7. Documents and communications concerning any proposed or actual adverse action taken

against any non-citizen engaged in any speech or activities deemed, determined to be, or

suspected of being pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-Hamas, pro-

Jihadist, or anti-Israel.

    8. Documents and communications referencing any of the Targeted Noncitizen Students or

Faculty Members by name or A-number and concerning your decision to invoke the Foreign

Policy Ground (8 U.S.C. § 1227(a)(4)(C)) as to any of them.

    9. Documents sufficient to show all information that you contend provided reasonable

grounds for Secretary Rubio to believe that the continued presence or activities in the United




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States of any of the Targeted Noncitizen Students or Faculty Members would have potentially

serious adverse foreign policy consequences for the United States.

    10. Documents sufficient to show all information considered by Secretary Rubio in

determining that the continued presence or activities in the United States of any of the Targeted

Noncitizen Students or Faculty Members would compromise a compelling United States foreign

policy interest.

    11. Documents and communications concerning any request or demand, by the Department

of Education or any other official or agency, requesting, demanding or requiring that any

university or college provide the names, nationalities or any other identifying information of

students who have been accused of or suspected of engaging in speech or activities deemed,

determined to be, or suspected of being pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist,

pro-Hamas, or anti-Israel.

    12. Documents and communications concerning your identification to colleges and

universities of non-citizen students or faculty members against whom you considered taking (or

are considering taking) adverse action, including but not limited to the list of students provided

by DHS to Columbia University that was referenced by White House Press Secretary Karoline

Leavitt on March 11, 2025.

Dated:             May 13, 2025
                   New York, NY

                                              SHER TREMONTE LLP

                                                      By:    /s/ Noam Biale
                                                      Michael Tremonte
                                                      Noam Biale
                                                      Alexandra Conlon
                                                      Courtney Gans
                                                      90 Broad Street, 23rd Floor



                                                 9
                                            New York, New York 10004
                                            (212) 202-2603
                                            mtremonte@shertremonte.com

                                            Ramya Krishnan
                                            Carrie DeCell
                                            Xiangnong Wang
                                            Talya Nevins
                                            Jackson Busch
                                            Scott Wilkens
                                            Alex Abdo
                                            Jameel Jaffer
                                            Knight First Amendment Institute
                                            at Columbia University
                                            475 Riverside Drive, Suite 302
                                            New York, NY 10115
                                            (646) 745-8500
                                            ramya.krishnan@knightcolumbia.org

                                            Ahilan T. Arulanantham
                                            Professor from Practice
                                            UCLA School of Law
                                            385 Charles E. Young Dr. East
                                            Los Angeles, CA 90095
                                            (310) 825-1029
                                            arulanantham@law.ucla.edu

                                            Edwina Clarke, BBO 699702
                                            David Zimmer
                                            Zimmer, Citron & Clarke, LLP
                                            130 Bishop Allen Drive
                                            Cambridge, MA 02139
                                            (617) 676-9423
                                            edwina@zimmercitronclarke.com

                                            Attorneys for Plaintiffs

To:   Ethan B. Kanter, Esq. (via email)
      Harry Graver, Esq. (via email)
      Lindsay M. Murphy, Esq. (via email)
      Shawna Yen, Esq. (via email)
      Sarmad Khojateh, Esq. (via email)

      Attorneys for Defendants




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